     Case 2:18-cv-02288-JAK-SS Document 22 Filed 06/06/18 Page 1 of 9 Page ID #:170



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10
11                        UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13
14
     Aerial West, LLC,                           Case No. 2:18-cv-02288-JAK-SS

15                       Plaintiff,              DEFENDANTS’ DRONE WORLD,
16                                               LLC AND STEPHEN PAUL
                 v.                              MCKENNA’S COUNTERCLAIM
17                                               AGAINST PLAINTIFF AERIAL
18   Drone World, LLC, Stephen Paul              WEST, LLC
     McKenna, and DOES 1-10, inclusive,
19
                                                 DEMAND FOR JURY TRIAL
20                   Defendants.
21
     _______________________________             Complaint Filed: March 20, 2018
     Drone World, LLC and Stephen Paul
22   McKenna,
23
                         Counterclaimants,
24
25               v.
26
     Aerial West, LLC,
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28
                         Counterdefendant.

                                                      Case No. Case No. 2:18-cv-02288-JAK-SS
                           DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFF AERIAL WEST, LLC
                                                                DEMAND FOR JURY TRIAL
                                            -1-
     Case 2:18-cv-02288-JAK-SS Document 22 Filed 06/06/18 Page 2 of 9 Page ID #:171



 1         Pursuant to Fed.R.Civ.P. 13, 14 and 38, Counterclaimants DRONE
 2   WORLD, LLC (“DRONE WORLD”) and STEPHEN PAUL MCKENNA hereby
 3   allege their counterclaim against Counterdefendant AERIAL WEST, LLC as
 4   follows:
 5                              NATURE OF THE ACTION
 6         1.     This is an action for a declaratory judgment of invalidity of
 7   trademark and trade dress pursuant to the Lanham Act, 15 U.S.C. §1051, et seq.,
 8   and Federal and California common law. Defendants seek a declaration that
 9   Plaintiff’s trademark MAVMOUNT and alleged associated trade dress are invalid
10   and Drone World further alleges a claim for breach of implied warranty of
11   merchantability.
12                              JURISDICTION AND VENUE
13         2.     This Court has subject matter jurisdiction over this lawsuit under 28
14   U.S.C. § 1338 because the action arises under the trademark laws of the United
15   States, and pendant jurisdiction of any and all state causes of action under 28
16   U.S.C. § 1367.
17                                       PARTIES
18         3.     Counterclaimant Drone World, LLC (“Drone World”) is a limited
19   liability company organized and existing under the laws of the State of California
20   having a principal place of business at 22815 Savi Ranch, Parkway Unit E, Yorba
21   Linda, California 92887.
22         4.     Counterclaimant Stephen Paul McKenna (“McKenna”) is an
23   individual residing in San Diego County, California.
24         5.     On information and belief, Counterdefendant Aerial West, LLC,
25   d.b.a. MavMount (“Aerial West”) is a California corporation having its principal
26   place of business at 834 15th Place #B, Hermosa Beach, California 90254.
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                                                     Case No. Case No. 2:18-cv-02288-JAK-SS
                          DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFF AERIAL WEST, LLC
                                                               DEMAND FOR JURY TRIAL
                                           -2-
     Case 2:18-cv-02288-JAK-SS Document 22 Filed 06/06/18 Page 3 of 9 Page ID #:172



 1                                GENERAL ALLEGATIONS
 2         6.     On information and belief, Da-Jiang Innovations is a Chinese
 3   technology company headquartered in Shenzhen, Guangdong in the People’s
 4   Republic of China. It does business as (and is best known as) “DJI” in the United
 5   States. DJI is a manufacturer of unmanned aerial vehicles, commonly known as
 6   “drones.”   One of its most popular drone product lines is referred to as the
 7   “MAVIC” series. See Exhibit 1 attached hereto.
 8         7.     On information and belief, DJI is the owner and/or has control over
 9   U.S. Trademark Reg. No. 5,229,553 for “MAVIC” for, inter alia, unmanned
10   aerial vehicles (“UAVs”) and accessories for UAVs.
11         8.     Counterclaimant Drone World is the Internet’s largest authorized
12   dealer of DJI kits. Its Mavic ProMaxx Mod Kit, among other kits, has been
13   featured twice in America’s top selling drone magazine, Rotor Drone. Drone
14   World kits have been used by National Geographic around the world and are
15   frequently bought by dozens of highly discerning military contractors and its
16   attention to detail while selecting accessories to pair with its kits is well known
17   within the drone industry.
18         9.     Counterdefendant Aerial West is a provider of mounts for DJI
19   MAVIC series UAVs, namely MAV mounts. At all times, Counterdefendant held
20   itself out as being a knowledgeable, experienced seller of its goods.             On
21   information and belief, Aerial West is not a licensee of DJI and does not have a
22   license for the MAVIC trademark.
23         10.    Drone World purchased certain mounts from Counterdefendant to be
24   used with Drone World’s most popular selling drone kit. During a period of
25   approximately seven months, Drone World received a significant number of
26   defective products from Counterdefendant.
27         11.    Drone World continues to receive complaints related to product
28   issues, returns for replacement or full refunds and a defect rate that is five times
                                                     Case No. Case No. 2:18-cv-02288-JAK-SS
                          DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFF AERIAL WEST, LLC
                                                               DEMAND FOR JURY TRIAL
                                           -3-
     Case 2:18-cv-02288-JAK-SS Document 22 Filed 06/06/18 Page 4 of 9 Page ID #:173



 1   higher than Drone World’s worst performing drone accessory.
 2         12.      Drone World contacted Counterdefendant to remedy the continuing
 3   issue of defective products. Counterdefendant refused to provide any remedy to
 4   Drone World. As a result, Drone World was forced to buy replacement parts and
 5   products at its own expense to satisfy its customers who purchased the defective
 6   products of Counterdefendant.
 7         13.      As a result of the breakdown in the business relationship between the
 8   parties due to Counterdefendant’s sub-par products, Counterdefendant began to
 9   assert that Counterclaimants were engaging in activities constituting violations of
10   Counterdefendant’s purported trademark and trade dress rights in the
11   MAVMOUNT name. Counterclaimants dispute these claims.
12         14.      Counterclaimants assert that the MAVMOUNT designation does not
13   and cannot serve as trademark and that Counterdefendant lacks any associated
14   trade dress.
15         15.      Counterclaimants contend that the designation MAVMOUNT is
16   weak, merely descriptive and/or generic and is not entitled to registration.
17   Further, Counterclaimants contends that Counterdefendant lacks the exclusive
18   right to use the designation MAVMOUNT.
19         16.      Counterclaimants further contend that Counterdefendant lacks any
20   purported rights in the alleged trade dress associated with the MAVMOUNT
21   products as the products are wholly functional and/or lack distinctiveness.
22
23                               FIRST CLAIM OF RELIEF
                           (Declaration of Invalidity of Trademark)
24
25         17.      Counterclaimants repeat and incorporate by reference the statements
26   and allegations in paragraphs 1 to 16 of the counterclaim as though fully set forth
27   herein.
28         18.      Upon information and belief, Counterdefendant’s threatened and
                                                       Case No. Case No. 2:18-cv-02288-JAK-SS
                            DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFF AERIAL WEST, LLC
                                                                 DEMAND FOR JURY TRIAL
                                             -4-
     Case 2:18-cv-02288-JAK-SS Document 22 Filed 06/06/18 Page 5 of 9 Page ID #:174



 1   purported trademark MAVMOUNT is invalid because, inter alia, it does not
 2   indicate the source of a good or service, is generic, is descriptive, and/or lacks
 3   secondary meaning. Moreover, Counterdefendant is not the owner of the MAVIC
 4   trademark and, consequently, the alleged mark MAVMOUNT cannot and does
 5   not indicate the true source of goods associated with the mark.
 6           19.   As a result of the acts described in the foregoing paragraphs, a
 7   substantial controversy of sufficient immediacy and reality exists to warrant the
 8   issuance of a declaratory judgment.
 9           20.   A judicial declaration is necessary and appropriate so that
10   Counterclaimants may ascertain their rights with respect to Counterdefendant’s
11   threatened trademark.
12
13                           SECOND CLAIM FOR RELIEF
                         (Declaration of Invalidity of Trade Dress)
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15           21.   Counterclaimants repeat and incorporate by reference the statements
16 and allegations in paragraphs 1 to 20 of the counterclaim as though fully set forth
17 herein.
18           22.   Upon information and belief, Counterdefendant’s threatened and
19   purported trade dress is invalid because, inter alia, the alleged trade dress is
20   wholly function and/or lacks acquired distinctiveness.
21           23.   As a result of the acts described in the foregoing paragraphs, a
22   substantial controversy of sufficient immediacy and reality exists to warrant the
23   issuance of a declaratory judgment.
24           24.   A judicial declaration is necessary and appropriate so that
25   Counterclaimants may ascertain its rights with respect to Counterdefendant’s
26   threatened trade dress.
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                                                      Case No. Case No. 2:18-cv-02288-JAK-SS
                           DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFF AERIAL WEST, LLC
                                                                DEMAND FOR JURY TRIAL
                                            -5-
     Case 2:18-cv-02288-JAK-SS Document 22 Filed 06/06/18 Page 6 of 9 Page ID #:175



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 2                              THIRD CLAIM FOR RELIEF
 3           (Breach of Warranty of Merchantability by Drone World LLC)
 4         25.    Counterclaimant Drone World repeats and incorporates by reference
 5 the statements and allegations in paragraphs 1 to 24 of the counterclaim as though
 6 fully set forth herein.
 7         26.    Counterdefendant sold mounts for MAVIC series drones to
 8   Counterclaimant Drone World.
 9         27.    At the time of purchase, Counterdefendant was in the business of
10   selling the goods purchased by Counterclaimant and held itself out as having
11   special knowledge or skill regarding the goods purchased.
12         28.    The products purchased were not of the same quality as those
13   generally acceptable in the trade.
14         29.    Counterclaimant took reasonable steps to notify Counterdefendant
15   within a reasonable time that the products did not have the expected quality.
16         30.    As a result of the acts described in the foregoing paragraphs, and the
17   failure of Counterdefendant to provide the expected quality of products, these acts
18   were a substantial factor in the harm suffered by Counterclaimant Drone World.
19         31.    Counterclaimant Drone World suffered damages as a result of
20   Counterdefendant’s breach.
21   \\
22   \\
23   \\
24   \\
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                                                        Case No. Case No. 2:18-cv-02288-JAK-SS
                             DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFF AERIAL WEST, LLC
                                                                  DEMAND FOR JURY TRIAL
                                              -6-
     Case 2:18-cv-02288-JAK-SS Document 22 Filed 06/06/18 Page 7 of 9 Page ID #:176



 1                                PRAYER FOR RELIEF
 2         WHEREFORE, Counterclaimants ask that this Court grant judgment
 3   against Counterdefendant for the following:
 4         A.    A declaration by the Court that Counterdefendant’s purported
 5               trademark MAVMOUNT is invalid;
 6         B.    A declaration by the Court that Counterdefendant’s purported trade
 7               dress is invalid;
 8         C.    That Counterdefendant be held liable to Counterclaimant Drone
 9               World for damages for breach of the warranty of merchantability;
10         D.    Counterclaimants are awarded their reasonable attorneys’ fees for
11               prosecuting this action;
12         E.    Counterclaimants recover its costs of this action and pre-judgment
13               and post-judgment interest, to the full extent allowed by law; and,
14         F.    Counterclaimants receive all other relief the Court deems appropriate.
15
16   Dated: June 6, 2018              MANDOUR & ASSOCIATES, APC
17
                                            /s/ Ben T. Lila
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                                                      Case No. Case No. 2:18-cv-02288-JAK-SS
                           DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFF AERIAL WEST, LLC
                                                                DEMAND FOR JURY TRIAL
                                            -7-
     Case 2:18-cv-02288-JAK-SS Document 22 Filed 06/06/18 Page 8 of 9 Page ID #:177



 1                                    JURY DEMAND
 2         Counterclaimants demand a trial by jury of all issues so triable.
 3
 4   Dated: June 6, 2018              MANDOUR & ASSOCIATES, APC
 5
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                                                      Case No. Case No. 2:18-cv-02288-JAK-SS
                           DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFF AERIAL WEST, LLC
                                                                DEMAND FOR JURY TRIAL
                                            -8-
     Case 2:18-cv-02288-JAK-SS Document 22 Filed 06/06/18 Page 9 of 9 Page ID #:178



 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that on the below date, I filed the foregoing document via
 3   the Court’s CM/ECF Filing System, which will serve electronic notice of the same
 4   on the following:
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                                                     Case No. Case No. 2:18-cv-02288-JAK-SS
                          DEFENDANTS’ COUNTERCLAIM AGAINST PLAINTIFF AERIAL WEST, LLC
                                                               DEMAND FOR JURY TRIAL
                                           -9-
